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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                                                                                                 RECf/VED
                                                                                                     AUG 30 2012
UNITED STATES OF AMERICA,                                  )                                  CLERK U.S
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                                                           )                                         NDISTRICT OURT
                      Plaintiff,                           )                                                  OFIOWA
                                                           )
                        vs.                                )      Case No.     ,34: I2-cr-00032-RP-TJS
                                                           )
TRAVIS         MEIER,                                      )
                                                           )
                      Defendant.                           )



    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant, having both filed a written consent.

appeared before n1e pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant
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entered a plea of guilty to Count 1(a~d Count 2 of the Indictment. After cautioning and examining

the Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that

the guilty plea was knowing and voluntary as to that count, and that the offense charged is

supported by an independent factual basis concerning each of the essential elements of such

offense. Defendant understands and agrees to be bound by the terms of the Plea Agreement. L

therefore, recommend that the plea of guilty be accepted~ that a pre-sentence investigation and

report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly.




                                                           CELESTE F. BREMER
                                                           UNITED STATES MAGISTRATE JUDGE


                                                           NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U .S.C. 636(b)( 1)(B).
